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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

JOSEPH W. OWENS,
ADC #158571                                                                  PLAINTIFF

v.                         CASE NO. 4:21-CV-000220-BSM

DEXTER PAYNE, et al.                                                     DEFENDANTS

                                         ORDER

       After de novo review of the record, United States Magistrate Edie R. Ervin’s partial

recommended disposition [Doc. No. 27] is adopted. Joseph Owen’s claims for money

damages against defendants in their official capacities are dismissed with prejudice; his

failure-to supervise claim against Dexter Payne is dismissed without prejudice; his claims

against Quintin Mixton are dismissed without prejudice; and his deliberate-indifference to

medical care claims are dismissed without prejudice. Accordingly, Payne and Mixton are

dismissed from this case. Owens may proceed on his claims that McJoy, Means, and Justin

Whipps: (1) used excessive force against Owens on January 3, 2021; and (2) used excessive

force to retaliate against Owens for his use of the grievance process.

       IT IS SO ORDERED this 7th day of October, 2021.



                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE
